92 F.3d 1181
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James William PAYNE, Petitioner-Appellant,v.William L. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 96-6302.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 2, 1996.Decided July 26, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, Senior District Judge.  (CA-95-273-HAR)
      James William Payne, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Ann Norman Bosse, Michelle Nicol Levister, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, MICHAEL, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.*  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Payne v. Smith, No. CA-95-273-HAR (D.Md. Feb. 20, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         As amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217
      
    
    